  Case 18-32371       Doc 28   Filed 09/06/19 Entered 09/06/19 11:59:13                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )               BK No.:      18-32371
Carina Wegrzyn                                 )
                                               )               Chapter: 7
                                               )
                                                               Honorable Pamela S. Hollis
                                               )
                                               )
               Debtor(s)                       )

                        ORDER TERMINATING THE AUTOMATIC STAY

        THIS CAUSE COMING TO BE HEARD on the Motion of MTGLQ Investors, LP a secured
creditor herein, for relief from the automatic stay, the Court having jurisdiction over the parties and the
subject matter and due notice having been given; and the Court finding that the mortgage held by said
creditor is in default and that the security interest of said creditor is not adequately protected:

   WHEREFORE, IT IS HEREBY ORDERED:

   (1) Pursuant to 11 U.S.C. §362(d), that Movant, its principals, agents, successors and/or assigns is
granted relief from the automatic stay provisions of 11 U.S.C. §362(a) by modifying said stay to permit
them to pursue their state court remedies as to the property commonly known as 4909 W 109th Street,
Oak Lawn, IL 60453.

  (2) Rule 4001(a)(3) is not applicable and Movant may immediately enforce and implement this order
granting relief from the automatic stay;


                                                            Enter:


                                                                     Honorable Pamela S. Hollis
Dated: September 06, 2019                                            United States Bankruptcy Judge

 Prepared by:
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